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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

         NORTH HAVEN LODGING PARTNERS                      )
         LLC, a South Dakota limited liability             )
         company, and WALLINGFORD LODGING                  )
         PARTNERS LLC, a South Dakota limited              )
         liability company,                                )
                                                           )
                                 Plaintiffs,               )   Case No. 1:23-cv-16264
                                                           )
                   vs.                                     )
                                                           )
         MCMANN COMMERCIAL LENDING                         )
         LLC n/k/a MCMANN PROFESSIONAL                     )
         SERVICES LLC and/or MCMANN                        )
         CAPITAL, an Illinois limited liability            )
         company, and GENIE INVESTMENTS NV,                )
         a Nevada corporation,                             )
                                                           )
                                 Defendants.               )
                                                           )

                                                   COMPLAINT

                  Plaintiffs, NORTH HAVEN LODGING PARTNERS LLC, a South Dakota limited

        liability company (“North Haven”), and WALLINGFORD LODGING PARTNERS LLC, a South

        Dakota limited liability company (“Wallingford”, together with North Haven, the “Plaintiffs”), for

        their complaint against Defendants, MCMANN COMMERCIAL LENDING LLC n/k/a

        MCMANN PROFESSIONAL SERVICES LLC and/or MCMANN CAPITAL, an Illinois limited

        liability company (“McMann”), and GENIE INVESTMENTS NV, a Nevada corporation

        (“Genie”), together with McMann, the “Defendants”), states as follows:

                                               NATURE OF ACTION

                  1.     Plaintiffs bring this action to recover $3,600,000 in funds that the Defendants have

        wrongfully withheld and willfully refused to return to the Plaintiffs despite both Defendants

        acknowledging orally and in writing that Plaintiffs are entitled to a return of the funds. At issue

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        are two $18,000,000 lines of credits made by McMann to the Plaintiffs. As part of the lines of

        credit, the Plaintiffs were obligated to, and did, prepay $1,800,000 in interest under each line of

        credit. At the direction of McMann, the Plaintiffs wired the prepaid interest directly to Genie to

        be held in trust and accounted for pursuant to the loan documents as prepaid interest to be applied

        against each of the lines of credit. No other use of the deposit funds was authorized by Plaintiffs.

        Pursuant to the loan documents, McMann and/or Genie was obligated to fund each of the lines of

        credit, yet McMann and/or Genie failed to do so. Pursuant to the loan documents, McMann and/or

        Genie was obligated to refund the prepaid interest payments if the lines of credit were not funded.

        The Plaintiffs have demanded return of the prepaid interest. Both Defendants have acknowledged

        orally and in writing that Genie received the funds and that the Plaintiffs are entitled to a return of

        the funds, yet each of the Defendants have failed to return any of the $3,600,000 to the Plaintiffs

        in an effort to defraud Plaintiffs.

                                                  THE PARTIES

                  2.    North Haven is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The members of

        North Haven are PB Corporation TN, a Georgia corporation with its principal place of business in

        Athens, Georgia, Hari Har Management, Inc. a South Dakota corporation with its principal place

        of business in Sioux Falls, South Dakota, and two individuals, who are residents of and domiciled

        in Connecticut.

                  3.    Wallingford is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The sole member of

        Wallingford is an individual who is a resident of and domiciled in South Dakota.

                  4.    McMann is an Illinois limited liability company with its principal place of business

        located at 205 N. Michigan Ave., Ste. 810, Chicago Illinois 60601 and its registered agent located

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        at 500 Skokie Blvd., Ste. 600, Northbrook, IL 60062. According to the Illinois Secretary of State

        records McMann changed its name to McMann Professional Services LLC and/or McMann

        Capital on or about August 4, 2023. Upon information and belief, none of the members of

        McMann are residents of, or domiciled in, Georgia, South Dakota, or Connecticut.

                  5.    Genie is a Nevada corporation with its principal address in Reno, Nevada.

                                        JURISDICTION AND VENUE

                  6.    This Court has diversity subject matter jurisdiction over this lawsuit under 28

        U.S.C. §§ 1332(a)(1) as this action is between citizens of different states and the matter in

        controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

                  7.    Plaintiffs are South Dakota limited liability companies whose members are citizens

        of Georgia, South Dakota, and/or Connecticut.

                  8.    Defendant McMann is an Illinois limited liability company and upon information

        and belief, and based upon a reasonable pre-suit investigation, none of the members of McMann

        are citizens of Georgia, South Dakota, or Connecticut.

                  9.    Defendant Genie is a Nevada corporation with its principal place of business in

        Reno, Nevada.

                  10.   This Court has personal jurisdiction over each of the parties to this matter. The

        Plaintiffs have conducted business with McMann, an Illinois limited liability company. The

        Defendants have conducted and presently conduct business in Illinois. McMann is an Illinois

        limited liability with its principal place of business in this state and in this district. Genie has

        conducted and presently conducts business in this state and in this district by conducting business

        for and on behalf of McMann both as related to the two lines of credit at issue and, upon

        information and belief, as to other loans made by McMann to other McMann borrowers. One of



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        Genie’s officers, David Hughes, who has directly interacted with Plaintiffs related to the lines of

        credit at issue, resides in the state of Illinois and has conducted business within this state as related

        to the two lines of credit, and upon information and belief related to other transactions with

        McMann. Genie is subject to personal jurisdiction in accordance with Illinois’ long-arm statute,

        which provides, in relevant part:

                         Any person, whether or not a citizen or resident of this State, who in
                         person or through an agent does any of the acts hereinafter
                         enumerated, thereby submits such person . . . to the jurisdiction of
                         the courts of this State as to any cause of action arising from the
                         doing of any of such acts: (1) The transaction of any business within
                         this State . . . .

        735 ILCS 5/2-209(a).

                  11.    This Court is the proper venue for this lawsuit under 28 U.S.C. § 1391(a) because

        the events giving rise to Plaintiff’s claim against the Defendants occurred in this judicial district.

                                                        FACTS

                                                Loan to North Haven

                  12.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to North Haven in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“North Haven Loan”).

                  13.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  14.    The North Haven Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“North Haven BELOC”) dated April 10, 2023 made by and between North

        Haven and McMann. Walter Trock executed the North Haven BELOC for McMann. A copy of

        the North Haven BELOC is attached as Exhibit 1.




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                  15.   The North Haven Loan is evidenced by that certain Promissory Note dated April

        10, 2023 in the principal amount of $18,600,000 (“North Haven Note”) made by North Haven in

        favor of McMann. The North Haven Note is attached to the North Haven BELOC as Exhibit A.

        See Ex. 1 North Haven BELOC, Ex. A.

                  16.   The North Haven Loan is secured by that certain Security Agreement dated April

        10, 2023 made by North Haven in favor of McMann (“North Haven Security Agreement”). The

        North Haven Security Agreement is attached to the North Haven BELOC as Exhibit E. See Ex. 1

        North Haven BELOC, Ex. E.

                  17.   The North Haven BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the North Haven Loan (“North Haven ICA Payment”).

                  18.   The North Haven BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the North Haven ICA Payment (“North Haven ICA”) so that

        interest payments on the North Haven Loan would first be satisfied by using the North Haven ICA

        Payment. See Ex. 1, North Haven BELOC, Recitals C, D; §3.5.

                  19.   The North Haven BELOC required McMann to fund the advances under the North

        Haven Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to occur

        within seventy-five (75) days of the ICA Payment. See Ex. 1, North Haven BELOC, §7.1 and Ex.

        B, Tranche Schedule.

                  20.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the North Haven Loan in accordance with the parties’

        agreements.

                  21.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        North Haven ICA Payment.



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                  22.    On April 10, 2023, McMann directed North Haven to wire the North Haven ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  23.    On April 10, 2023, North Haven wired the North Haven ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.

                  24.    Both McMann and Genie have confirmed in writing that Genie received the North

        Haven ICA Payment.

                                               Loan to Wallingford

                  25.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to Wallingford in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“Wallingford Loan”).

                  26.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  27.    The Wallingford Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“Wallingford BELOC” together with the North Haven BELOC, the

        “BELOCs”) dated April 10, 2023 made by and between Wallingford and McMann. Walter Trock

        executed the Wallingford BELOC for McMann. A copy of the Wallingford BELOC is attached as

        Exhibit 2.

                  28.    The Wallingford Loan is evidenced by that certain Promissory Note dated April 10,

        2023 in the principal amount of $18,600,000 (“Wallingford Note”) made by Wallingford in favor

        of McMann. The Wallingford Note is attached to the Wallingford BELOC as Exhibit A. See Ex.

        2, Wallingford BELOC, Ex. A.

                  29.    The Wallingford Loan is secured by that certain Security Agreement dated April

        10, 2023 made by Wallingford in favor of McMann (“Wallingford Security Agreement”). The

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        Wallingford Security Agreement is attached to the Wallingford BELOC as Exhibit E. See Ex. 2,

        Wallingford BELOC, Ex. E.

                  30.   The Wallingford BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the Wallingford Loan (“Wallingford ICA Payment” together with the North

        Haven ICA Payment, the “ICA Payments”).

                  31.   The Wallingford BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the Wallingford ICA Payment (“Wallingford ICA”) so that

        interest payments on the Wallingford Loan would first be satisfied by using the Wallingford ICA

        Payment. See Ex. 2, Wallingford BELOC, Recitals C, D; §3.5.

                  32.   The Wallingford BELOC required McMann to fund the advances under the

        Wallingford Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to

        occur within seventy-five (75) days of the ICA Payment. See Ex. 2, Wallingford BELOC, §7.1

        and Ex. B, Tranche Schedule.

                  33.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the Wallingford Loan in accordance with the parties’

        agreements.

                  34.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        Wallingford ICA Payment.

                  35.   On April 10, 2023, McMann directed Wallingford to wire the Wallingford ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  36.   On April 10, 2023, Wallingford wired the Wallingford ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.



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                  37.   Both McMann and Genie have confirmed in writing that Genie received the

        Wallingford ICA Payment.

        McMann’s Breach of the North Haven Loan and Wallingford Loan and Plaintiffs’ Demand
                                            for Refund

                  38.    McMann failed to fund both the North Haven Loan and Wallingford Loan as

        required by the BELOCs.

                  39.   The North Haven BELOC provides North Haven the right to terminate the

        agreement and demand refund of the North Haven ICA Payment in the event that McMann fails

        to timely fund the North Haven Loan. Specifically, Section 13.7(a) of the North Haven BELOC

        provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….

        Exhibit 1, §13.7(a) (emphasis added).

                  40.   The Wallingford BELOC provides Wallingford the right to terminate the agreement

        and demand refund of the Wallingford ICA Payment in the event that McMann fails to timely fund

        the Wallingford Loan. Specifically, Section 13.7(a) of the Wallingford BELOC provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….


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        Exhibit 2, §13.7(a) (emphasis added).

                  41.     On August 17, 2023, North Haven and Wallingford each tendered a Termination

        Letter for each of the North Haven Loan and Wallingford Loan pursuant to the BELOCs and

        demanded a refund of each of the ICA Payments (the “Termination Notices”). A copy of each of

        the Termination Letters is attached as Exhibit 3. The Termination Notices were provided to both

        McMann and Genie via a communication platform utilized by McMann and Genie called

        Zoomeral.

                  42.     Pursuant to the BELOCs, McMann was obligated to refund the ICA Payments on

        or before October 17, 2023.

                  43.     Upon information and belief, McMann did not have the loan funds to fund either

        the North Haven Loan or Wallingford Loan when it entered into the BELOCs.

                  44.     To date, McMann has failed to refund the North Haven ICA Payment and the

        Wallingford ICA Payment.

                        McMann Provides False Oral and Written Information to Plaintiffs

                  45.     Instead of refunding the ICA Payments as required by the loan documents,

        McMann has engaged in a series of false oral and written statements.

                  46.     On or about October 16, 2023, Walter Trock, Senior Managing Partner of McMann

        sent a series of text messages to Preet Patel, a representative of the Plaintiffs, in which Mr. Trock

        assured the Plaintiffs that McMann would obtain a refund from Genie for the Plaintiffs despite

        McMann’s own obligation to provide a refund to Plaintiffs.

                  47.     Mr. Trock also falsely stated to the Plaintiffs that this is the first time Genie has

        refused to refund money to a McMann borrower. As the Plaintiffs unfortunately learned later,




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        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                 48.     The Plaintiffs reasonably relied on McMann’s and Mr. Trock’s representations and

        actions and believed that McMann would obtain a refund of the ICA Payments.

                 49.     On October 24, 2023, counsel for McMann sent a demand letter to Genie

        demanding that Genie immediately refund the ICA Payments to Plaintiffs. A copy of the October

        24, 2023 letter is attached as Exhibit 4.

                 50.     The October 24, 2023 letter also makes a series of admissions that confirm

        Plaintiffs’ entitlement to the return of the ICA Payments and confirm McMann’s and Genie’s

        liability to the Plaintiffs.

                 51.     Specifically, McMann admits:

                         a.      Genie received payment of each of the ICA Payments on May 3, 2023;

                         b.      Genie was obligated to hold the ICA Payments in trust for the benefit of the
                                 Plaintiffs;

                         c.      The Plaintiffs properly terminated the BELOCs;

                         d.      The Plaintiffs properly exercised their rights under Section 13.7 of the
                                 BELOCs and demanded refund of the ICA Payments;

                         e.      The Plaintiffs have complied with every term of the BELOCs;

                         f.      Genie properly received notice of the Plaintiffs’ termination of the BELOCs
                                 and demand of refund of the ICA Payments;

                         g.      Genie admitted that the Plaintiffs’ are entitled to a refund of the ICA
                                 Payments;

                         h.      Genie promised to refund the refund of the ICA Payments on or before
                                 October 13, 2023; and

                         i.      The Plaintiffs are entitled to the immediate return of the ICA Payments and
                                 there is no legal or good faith basis that these funds should not be returned.



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                 52.   McMann has falsely stated orally and in writing that it will refund ICA Payments.

                 53.   Despite McMann’s written and oral representations, statements, assurances, and

        promises, McMann continues to refuse to refund the ICA Payments.

                 54.   The Plaintiffs reasonably relied on McMann’s continued assurances and promises

        that it will refund the ICA Payments and the Plaintiffs believed that McMann would obtain and

        issue a refund of the ICA Payments.

                       Genie and David Hughes Provides False Oral and Written Information to
                       Plaintiffs

                 55.   Genie has admitted and acknowledged orally and in writing that it received the ICA

        Payments.

                 56.   On August 18, 2023, the Plaintiffs provided Genie notice that the Plaintiffs

        exercised their rights under the BELOCs and terminated the agreements.

                 57.   On August 18, 2023, the Plaintiffs demanded a refund of the ICA Payments.

                 58.   Instead of refunding the ICA Payments as required, Genie, through its Director,

        David Hughes has engaged in a series of oral and written false statements to induce the Plaintiffs

        into believing that Genie will refund the ICA Payments.

                 59.   On September 14, 2023, Genie represented, in writing via Zoomeral, that it would

        refund the ICA Payments on October 13, 2023. See Exhibit E to Complaint Exhibit 4.

                 60.   Additionally, on October 11, 2023 David Hughes confirmed to Plaintiffs there was

        “nothing” to be done when asked by Preet Patel (representative of Plaintiffs) “nothing on our end

        left to do re: refund this week correct?”

                 61.   Genie and David Hughes also orally confirmed to the Plaintiffs that the Plaintiffs

        were entitled to the refund of the ICA Payments during multiple telephone discussions. The most

        recent confirmation of entitlement to a refund was provided during a October 17, 2023 telephone


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        discussion with David Hughes wherein Hughes assured Plaintiffs that Genie had never failed to

        make an ICA refund in the past. As the Plaintiffs unfortunately learned later, McMann and Genie

        have engaged in similar misconduct and apparent fraud for a host of other borrowers.

                 62.   Genie knew these representations were materially false when made because Genie

        did not have the funds to refund the ICA Payments. As the Plaintiffs unfortunately learned later,

        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                 63.   The Plaintiffs reasonably relied on Genie’s representations that it would refund the

        ICA Payments on October 13, 2023.

                 64.   Instead of refunding the payments on October 13, 2023, Genie, through its counsel

        Adam Walker of Walker Law Office, LLC sent a letter to the Plaintiffs for each of the loans

        alleging it is unable to refund the ICA Payments at this time because of “the ongoing failure of its

        capital provider to comply with its contractual obligations to provide funds to Genie.” A copy of

        the October 13, 2023 letters are attached as Group Exhibit 5.

                 65.   Genie’s October 13, 2023 letter is an admission that it unlawfully transferred the

        ICA Payments and did not hold those funds in trust for the benefit of the Plaintiffs are required by

        the BELOC and obligations delegated to Genie by McMann related to the ICA Payments.

                 66.   Specifically, Genie stated that it is working to “compel the capital provider to

        deliver the funds it owes, so that Genie can, in turn, provide refunds to its borrowers.” Ex. 5.

                 67.   In other words, Genie admitted that it no longer has the ICA Payments in its

        possession and control. Instead, Genie admits that it used the ICA Payments for an unauthorized

        purpose and was apparently relying on another third-party to pay funds to Genie and Genie would




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        then in turn pay those funds to the Plaintiffs for refund of the ICA Payments. Plaintiffs never

        authorized any other use of their funds other than to be held in trust pursuant to the BELOCs.

            McMann Misappropriates the ICA Payments and Violates its Fiduciary Duties to the
                                             Plaintiffs

                 68.   The BELOCs require McMann to hold the ICA Payments in trust to be used to

        repay the Loans pursuant to each of the BELOC agreements.

                 69.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment “purposes of satisfying interest payments under the LOC and

        upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                 70.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                 71.   McMann agreed to repay the ICA Payments within 40 business days of its default

        under the Loans. Exs. 1 and 2, §13.7(b).

                 72.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 73.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 74.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                       a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                       b.     Failing to establish the Interest Reserve Accounts;

                       c.     Failing to account for the ICA Payments on McMann’s books and records;


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                       d.      Failing to comply with the terms of the BELOCs; and

                       e.      Failing to return the ICA Payments as required by the BELOCs.

                 75.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                 76.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                 77.   The Plaintiffs reasonably relied on McMann and reasonably believed that McMann

        would honor its fiduciary duties to the Plaintiffs.

                 78.   As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.

        Genie Misappropriates the ICA Payments and Violates its Fiduciary Duties to the Plaintiffs

                 79.   Upon information and belief, Genie drafted and provided to McMann the loan

        documents for each of the North Haven and Wallingford Loans and directed McMann on how to

        use the loan documents. McMann and Genie were effectively partners in issuing the loans to

        Plaintiffs.

                 80.   Upon information and belief, Genie was aware of the terms of each of the Loans.

                 81.   Upon information and belief, Genie was aware that the ICA Payments were to be

        held in trust and safeguarded so the funds could be applied pursuant to the BELOCs and Genie

        directed that wiring instructions state that the ICA Payments were to be wired directly to Genie.




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                 82.    Upon information and belief, Genie agreed to hold the ICA Payments in trust and

        safeguard those funds for the benefit of Plaintiffs.

                 83.    Genie received each of the ICA Payments into Genie’s Chase Bank Account

        Number xxxxx8502 on or about May 3, 2023.

                 84.    Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 85.    Upon information and belief, Genie transferred the ICA Payments from its Chase

        Bank Account Number xxxxx8502 to another location, thus diverting and converting those funds.

                 86.    Genie did not hold the ICA Payments in trust so the funds could be applied pursuant

        to the BELOCs.

                 87.    Genie admits that it is obligated to return the ICA Payments to the Plaintiffs.

                 88.    Plaintiffs (and McMann) has demanded that Genie return the ICA Payments to the

        Plaintiffs.

                 89.    Genie promised to refund the ICA Payments by October 13, 2023.

                 90.    Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.      Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.      Failing to return the ICA Payments as it agreed to do and as directed by
                                McMann.

                 91.    The Plaintiffs reasonably relied on Genie and reasonably believed that Genie would

        honor its fiduciary duties to the Plaintiffs.

                 92.    As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.




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                                                  COUNT I
                                           BREACH OF CONTRACT
                                              (against McMann)

                 93.    The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 94.    The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 95.    Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 96.    The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 97.    Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 98.    McMann admits that the BELOCs are valid and binding agreements.

                 99.    McMann defaulted under the terms of the BELOCs.

                 100.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 101.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 102.   McMann has no legally recognized justification or excuse for breaching the

        BELOCs and Loan Documents.

                 103.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                 104.   The Plaintiffs are entitled to a return of the ICA Payments.

                 105.   McMann has breached the BELOCs and Loan Documents by, among other

        breaches:



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                        a.     Failing to fund each of the Loans;

                        b.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        c.     Failing to establish the Interest Reserve Accounts;

                        d.     Failing to account for the ICA Payments on McMann’s books and records;

                        e.     Failing to comply with the terms of the BELOCs; and

                        f.     Failing to refund the ICA Payments within 40 business days from receipt of
                               the Termination Notices.

                 106.   The Plaintiffs have been damaged as a result of each and every breach of the

        BELOCs and Loan Documents in an amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000 for McMann’s breach of the BELOCs and
                        Loan Documents;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                        BELOCs and applicable law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                    COUNT II
                                                 CONVERSION
                                                (against McMann)

                 107.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 108.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 109.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

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                 110.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 111.   The BELOCs require McMann to hold the ICA Payments in trust to be used solely

        to repay the Loans pursuant to each of the BELOC agreements.

                 112.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment for the “purposes of satisfying interest payments under the

        LOC and upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                 113.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                 114.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 115.   McMann admits that the BELOCs are valid and binding agreements.

                 116.   McMann admits that the Plaintiffs properly and fully paid the ICA Payments.

                 117.   McMann defaulted under the terms of the BELOCs.

                 118.   McMann has no legally recognized justification or excuse for breaching the

        BELOC and Loan Documents.

                 119.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                 120.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 121.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 122.   The Plaintiffs are entitled to a return of the ICA Payments.

                 123.   The Plaintiffs demanded return of the ICA Payments.



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                 124.   McMann is obligated to return the ICA Payments within 40 days of receipt of the

        Termination Notices.

                 125.   McMann has exercised unauthorized and wrongful assumption of control,

        dominion, or ownership of the ICA Payments.

                 126.   McMann has wrongfully refused to return the ICA Payments.

                 127.   The ICA Payments are the Plaintiffs lawful property.

                 128.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                 129.   McMann has unlawfully converted the ICA Payments. McMann’s conduct as

        alleged herein was willful and wanton and McMann acted with actual malice, fraud, and/or gross

        negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000 for McMann’s conversion of the ICA
                        Payments;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;


                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                        BELOCs and applicable law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                           COUNT III
                      TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                        (against McMann)

                 130.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

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                 131.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                 132.   After May 3, 2023, upon information and belief the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                 133.   740 ILCS 160/5 provides, in relevant part:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent
                        as to a creditor, whether the creditor’s claim arose before or after the
                        transfer was made or the obligation was incurred, if the debtor made
                        the transfer or incurred the obligation:

                           (1) with actual intent to hinder, delay, or defraud any creditor
                           of the debtor . . .
                               ....
                        (b) In determining actual intent under paragraph (1) of subsection
                        (a), consideration may be given, among other factors, to whether:
                           (1) the transfer or obligation was to an insider;
                           (2) the debtor retained possession or control of the property
                           transferred after the transfer;
                           (3) the transfer or obligation was disclosed or concealed;
                           (4) before the transfer was made or obligation was incurred, the
                           debtor had been sued or threatened with suit;
                           (5) the transfer was of substantially all the debtor's assets;
                           (6) the debtor absconded;
                           (7) the debtor removed or concealed assets;
                           (8) the value of the consideration received by the debtor was
                           reasonably equivalent to the value of the asset transferred or the
                           amount of the obligation incurred;
                           (9) the debtor was insolvent or became insolvent shortly after
                           the transfer was made or the obligation was incurred;
                           (10) the transfer occurred shortly before or shortly after a
                           substantial debt was incurred; and
                           (11) the debtor transferred the essential assets of the business to
                           a lienor who transferred the assets to an insider of the debtor.

                 134.   740 ILCS 106/8 provides:



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                        (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                        subject to the limitations in Section 9, may obtain:
                             (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                             creditor’s claim;
                             (2) an attachment or other provisional remedy against the asset transferred or
                             other property of the transferee in accordance with the procedure prescribed by
                             the Code of Civil Procedure;
                             (3) subject to applicable principles of equity and in accordance with applicable
                             rules of civil procedure,
                                (A) an injunction against further disposition by the debtor or a transferee,
                                or both, of the asset transferred or of other property;
                                (B) appointment of a receiver to take charge of the asset transferred or of
                                other property of the transferee; or
                                (C) any other relief the circumstances may require.
                        (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                        if the court so orders, may levy execution on the asset transferred or its proceeds.

                 135.   McMann’s transfer of the ICA Payments was a fraudulent conveyance because,

        among other reasons:

                        a.      The transfer was made with actual intent to hinder, delay, or defraud
                                McMann’s creditors, namely the Plaintiffs;

                        b.      Genie is an insider of McMann;

                        c.      The transfer was concealed from the Plaintiffs;

                        d.      The transfer was intended to conceal or remove McMann’s assets;

                        e.      Upon information and belief the value of the consideration received by
                                McMann in exchange for the transfer to Genie was not reasonably
                                equivalent to the assets transferred; in fact, McMann received no
                                consideration for the transfer; and

                        f.      McMann was insolvent or became insolvent shortly after the transfer as
                                evidenced by its inability to funds the Loans and return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:




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                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;

                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of McMann in accordance with the procedure prescribed
                        by the Illinois Code of Civil Procedures;

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                        conduct as alleged herein was willful and wanton and McMann acted with actual
                        malice, fraud, and/or gross negligence;

                 E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT IV
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                      (against McMann)

                 136.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 137.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                 138.   After May 3, 2023, upon information and belief, the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                 139.   740 ILCS 160/5(a)(2) provides, in relevant part:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                        creditor, whether the creditor’s claim arose before or after the transfer was
                        made or the obligation was incurred, if the debtor made the transfer or
                        incurred the obligation:
                                ***
                        (2) without receiving a reasonably equivalent value in exchange for the
                        transfer or obligation, and the debtor:




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                        (A) was engaged or was about to engage in a business or a transaction for
                        which the remaining assets of the debtor were unreasonably small in
                        relation to the business or transaction; or

                        (B) intended to incur, or believed or reasonably should have believed that
                        he would incur, debts beyond his ability to pay as they become due.

                 140.   740 ILCS 106/6(a) provides:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                        whose claim arose before the transfer was made or the obligation was incurred if
                        the debtor made the transfer or incurred the obligation without receiving a
                        reasonably equivalent value in exchange for the transfer or obligation and the
                        debtor was insolvent at that time or the debtor became insolvent as a result of the
                        transfer or obligation.

                 141.   The Plaintiffs’ claim arose before the transfer was made.

                 142.   Upon information and belief, the value of the consideration received by McMann

        in exchange for the transfer to Genie was not reasonably equivalent to the assets transferred; in

        fact, McMann received no consideration for the transfer.

                 143.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                 144.   McMann believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because McMann knew it could not fund the Loans and knew that Genie

        was an untrustworthy custodian of the ICA Payments.

                 145.   McMann was insolvent or became insolvent shortly after the transfer as evidenced

        by its inability to fund the Loans and return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;



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                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of McMann in accordance with the procedure prescribed
                        by the Illinois Code of Civil Procedures;

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                        conduct as alleged herein was willful and wanton and McMann acted with actual
                        malice, fraud, and/or gross negligence;

                 E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.     Grant the Plaintiffs such other relief as this Court deems just.



                                               COUNT V
                             FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                           (against McMann)

                 146.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 147.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                        a.      McMann’s ability to fund the Loans;

                        b.      McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                        c.      McMann’s ability and agreement to refund the ICA Payments, if and when
                                required.

                 148.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 149.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.



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                 150.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                 151.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                 152.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 153.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.

                 154.   As a direct and proximate result of McMann’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        McMann’s conduct as alleged herein was willful and wanton and McMann acted with actual

        malice, fraud, and/or gross negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;

                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT VI
                                       BREACH OF FIDUCIARY DUTY
                                            (against McMann)

                 155.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.


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                 156.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 157.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 158.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 159.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 160.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 161.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 162.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        b.     Failing to establish the Interest Reserve Accounts;

                        c.     Failing to account for the ICA Payments on McMann’s books and records;

                        d.     Failing to comply with the terms of the BELOCs; and

                        e.     Failing to return the ICA Payments as required by the BELOCs.

                 163.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.




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                 164.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                 165.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 166.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 167.   The Plaintiffs are entitled to a return of the ICA Payments.

                 168.   McMann has failed to return the ICA Payments.

                 169.   The Plaintiffs have been damaged as a result of McMann’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding judgment in the amount of $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                 COUNT VII
                                            CONSTRUCTIVE TRUST
                                              (against McMann)

                 170.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 171.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.


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                 172.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 173.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 174.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 175.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 176.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 177.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        b.     Failing to establish the Interest Reserve Accounts;

                        c.     Failing to account for the ICA Payments on McMann’s books and records;

                        d.     Failing to comply with the terms of the BELOCs; and

                        e.     Failing to return the ICA Payments as required by the BELOCs.

                 178.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                 179.   McMann was aware, prior to the transfer of the North Haven ICA Payment and the

        Wallingford ICA Payment, that Genie was not a trustworthy fiduciary because, upon information

        and belief, Genie and McMann previously refused and were unable to fund other loans and



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        previously refused and were unable to refund other similar prepaid interest payments for other

        McMann borrowers.

                 180.   McMann engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                 181.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                        a.     McMann’s ability to fund the Loans;

                        b.     McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                        c.     McMann’s ability and agreement to refund the ICA Payments, if and when
                               required.

                 182.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 183.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 184.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to entered into the Loans and pay the ICA Payments.

                 185.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                 186.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 187.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.




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                 188.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 189.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 190.   The Plaintiffs are entitled to a return of the ICA Payments.

                 191.   McMann has failed to return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Establishing a constructive trust for the ICA Payments in the amount of
                        $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                COUNT VIII
                                           BREACH OF CONTRACT
                                               (against Genie)

                 192.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 193.   Genie drafted the BELOCs and Loan Documents.

                 194.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 195.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 196.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 197.   Genie received payment of the ICA Payments.




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                 198.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 199.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 200.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 201.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 202.   McMann made demand on Genie for a return of the ICA Payments.

                 203.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 204.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 205.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 206.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                 207.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                 208.   The Plaintiffs have been damaged as a result of Genie’s breach of the oral and

        written agreements in an amount not less than $3,600,000.




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                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000 for Genie’s breach of the oral and written
                        agreements;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                    COUNT IX
                                                  CONVERSION
                                                  (against Genie)

                 209.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 210.   Genie drafted the BELOCs and Loan Documents.

                 211.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 212.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 213.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 214.   Genie received payment of the ICA Payments.

                 215.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 216.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.




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                 217.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 218.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 219.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 220.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 221.   McMann made demand on Genie for a return of the ICA Payments.

                 222.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 223.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 224.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 225.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                 226.   The Plaintiffs are entitled to a return of the ICA Payments.

                 227.   The Plaintiffs demanded return of the ICA Payments.

                 228.   Genie is obligated to return the ICA Payments.

                 229.   Genie has exercised unauthorized and wrongful assumption of control, dominion,

        or ownership of the ICA Payments.



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                  230.   Genie has wrongfully refused to return the ICA Payments.

                  231.   The ICA Payments are the Plaintiffs lawful property.

                  232.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                  233.   Genie has unlawfully converted the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000 for Genie’s conversion of the ICA Payments;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                            COUNT X
                       TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                          (against Genie)

                  234.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  235.   On or about May 3, 2023, Genie caused or directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  236.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  237.   740 ILCS 160/5 provides, in relevant part:


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                        (a) A transfer made or obligation incurred by a debtor is fraudulent
                        as to a creditor, whether the creditor’s claim arose before or after the
                        transfer was made or the obligation was incurred, if the debtor made
                        the transfer or incurred the obligation:

                           (1) with actual intent to hinder, delay, or defraud any creditor
                           of the debtor . . .
                               ....
                        (b) In determining actual intent under paragraph (1) of subsection
                        (a), consideration may be given, among other factors, to whether:
                           (1) the transfer or obligation was to an insider;
                           (2) the debtor retained possession or control of the property
                           transferred after the transfer;
                           (3) the transfer or obligation was disclosed or concealed;
                           (4) before the transfer was made or obligation was incurred, the
                           debtor had been sued or threatened with suit;
                           (5) the transfer was of substantially all the debtor's assets;
                           (6) the debtor absconded;
                           (7) the debtor removed or concealed assets;
                           (8) the value of the consideration received by the debtor was
                           reasonably equivalent to the value of the asset transferred or the
                           amount of the obligation incurred;
                           (9) the debtor was insolvent or became insolvent shortly after
                           the transfer was made or the obligation was incurred;
                           (10) the transfer occurred shortly before or shortly after a
                           substantial debt was incurred; and
                           (11) the debtor transferred the essential assets of the business to
                           a lienor who transferred the assets to an insider of the debtor.

                 238.   740 ILCS 106/8 provides:

                        (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                        subject to the limitations in Section 9, may obtain:
                            (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                            creditor’s claim;
                            (2) an attachment or other provisional remedy against the asset transferred or
                            other property of the transferee in accordance with the procedure prescribed by
                            the Code of Civil Procedure;
                            (3) subject to applicable principles of equity and in accordance with applicable
                            rules of civil procedure,

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                                (A) an injunction against further disposition by the debtor or a transferee,
                                or both, of the asset transferred or of other property;
                                (B) appointment of a receiver to take charge of the asset transferred or of
                                other property of the transferee; or
                                (C) any other relief the circumstances may require.
                         (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                         if the court so orders, may levy execution on the asset transferred or its proceeds.

                 239.    Genie’s transfer of the ICA Payments was a fraudulent conveyance because, among

        other reasons:

                         a.     The transfer was made with actual intent to hinder, delay, or defraud
                                Genie’s creditors, namely the Plaintiffs;

                         b.     Genie is an insider of McMann;

                         c.     The transfer was concealed from the Plaintiffs;

                         d.     The transfer was intended to conceal or remove Genie’s assets;

                         e.     Upon information and belief the value of the consideration received by
                                Genie in exchange for the transfer to Genie was not reasonably equivalent
                                to the assets transferred; in fact, Genie received no consideration for the
                                transfer; and

                         f.     Genie was insolvent or became insolvent shortly after the transfer as
                                evidenced by its inability to return the ICA Payments and the apparent
                                necessity of a third-party to pay Genie so Genie can refund the ICA
                                Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.      Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;

                 B.      Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of Genie in accordance with the procedure prescribed by
                         the Illinois Code of Civil Procedures;

                 C.      Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;



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                  D.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT XI
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                       (against Genie)

                  240.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  241.   On or about May 3, 2023, Genie caused and directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  242.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  243.   740 ILCS 160/5(a)(2) provides, in relevant part:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                         creditor, whether the creditor’s claim arose before or after the transfer was
                         made or the obligation was incurred, if the debtor made the transfer or
                         incurred the obligation:
                                 ***
                         (2) without receiving a reasonably equivalent value in exchange for the
                         transfer or obligation, and the debtor:

                         (A) was engaged or was about to engage in a business or a transaction for
                         which the remaining assets of the debtor were unreasonably small in
                         relation to the business or transaction; or

                         (B) intended to incur, or believed or reasonably should have believed that
                         he would incur, debts beyond his ability to pay as they become due.

                  244.   740 ILCS 106/6(a) provides:


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                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                        whose claim arose before the transfer was made or the obligation was incurred if
                        the debtor made the transfer or incurred the obligation without receiving a
                        reasonably equivalent value in exchange for the transfer or obligation and the
                        debtor was insolvent at that time or the debtor became insolvent as a result of the
                        transfer or obligation.

                 245.   The Plaintiffs’ claim arose before the transfer was made.

                 246.   Upon information and belief, the value of the consideration received by Genie in

        exchange for the transfer from Genie to an unknown source was not reasonably equivalent to the

        assets transferred; in fact, Genie received no consideration for the transfer.

                 247.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                 248.   Genie believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because Genie knew it could not refund the ICA Payments when the

        transfer was made.

                 249.   Genie was insolvent or became insolvent shortly after the transfer as evidenced by

        its inability to return the ICA Payments and the apparent necessity of a third-party to pay Genie so

        Genie can refund the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;

                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of Genie in accordance with the procedure prescribed by
                        the Illinois Code of Civil Procedures

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;




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                 D.       Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                          as alleged herein was willful and wanton and Genie acted with actual malice,
                          fraud, and/or gross negligence;

                 E.       Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.       Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT XII
                               FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                              (against Genie)

                 250.     The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 251.     As alleged above, Genie induced the Plaintiffs to transfer the ICA Payments to

        Genie at the direction of Genie (through McMann) by use of false representations, including terms

        included in the BELOCs provided by Genie to McMann, that were materially false, including but

        not limited to:

                          a.      Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                          b.      Genie’s ability and agreement to refund the ICA Payments, if and when
                                  required.

                 252.     The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 253.     Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 254.     Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                 255.     The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.




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                 256.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 257.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                 258.   As a direct and proximate result of Genie’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        Genie’s conduct as alleged herein was willful and wanton and Genie acted with actual malice,

        fraud, and/or gross negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;

                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                              COUNT XIII
                                       BREACH OF FIDUCIARY DUTY
                                             (against Genie)

                 259.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 260.   Genie drafted the BELOCs and Loan Documents.

                 261.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 262.   Genie knew of and understood the terms of the BELOCs and Loan Documents.




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                 263.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 264.   Genie received payment of the ICA Payments.

                 265.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 266.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                 267.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 268.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 269.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 270.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 271.   McMann made demand on Genie for a return of the ICA Payments.

                 272.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 273.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.




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                 274.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.     Failing to return the ICA Payments as required by the BELOCs.

                 275.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 276.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements.

                 277.   The Plaintiffs are entitled to a return of the ICA Payments.

                 278.   Genie has failed to return the ICA Payments.

                 279.   The Plaintiffs have been damaged as a result of Genie’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding judgment in the amount of $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law;

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                 COUNT XIV
                                            CONSTRUCTIVE TRUST
                                                (against Genie)

                 280.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 281.   Genie drafted the BELOCs and Loan Documents.


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                 282.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 283.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 284.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 285.   Genie received payment of the ICA Payments.

                 286.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 287.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 288.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 289.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 290.   McMann made demand on Genie for a return of the ICA Payments.

                 291.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 292.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 293.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 294.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.



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                 295.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                 296.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 297.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                 298.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 299.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.     Failing to return the ICA Payments as required by the BELOCs.

                 300.   Genie engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                 301.   As alleged above, Genie obtained payment of the ICA Payments by use of false

        oral and written statements that were materially false, including but not limited to:

                        a.     Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                        b.     Genie’s ability and agreement to refund the ICA Payments, if and when
                               required.

                 302.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.




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                 303.   Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 304.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to pay the ICA Payments.

                 305.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.

                 306.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 307.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                 308.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 309.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements with Genie.

                 310.   The Plaintiffs are entitled to a return of the ICA Payments.

                 311.   Genie has failed to return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Establishing a constructive trust for the ICA Payments in the amount of
                        $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.



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                                                 COUNT XV
                                            UNJUST ENRICHMENT
                                                (against Genie)

                 312.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 313.   Genie drafted the BELOCs and Loan Documents.

                 314.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 315.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 316.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 317.   Genie received payment of the ICA Payments.

                 318.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 319.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 320.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 321.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 322.   McMann made demand on Genie for a return of the ICA Payments.

                 323.   Genie has refused to return the ICA Payments.

                 324.   By retaining the funds, Genie has unjustly retained the benefit of those funds to the

        detriment of the Plaintiffs.



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                 325.   The Plaintiffs are entitled to a return of the ICA Payments.

                 326.   The Plaintiffs demanded return of the ICA Payments.

                 327.   Genie is obligated to return the ICA Payments and has no legal or colorable right

        to keep the ICA Payments.

                 328.   Genie has wrongfully refused to return the ICA Payments.

                 329.   The ICA Payments are the Plaintiffs lawful property.

                 330.   Genie’s retention of the ICA Payments violates the fundamental principles of

        justice, equity, and good conscience.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000 for Genie’s unjust enrichment related to
                        retention of the ICA Payments;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.




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         Dated: November 27, 2023                    Respectfully submitted,


                                                     NORTH HAVEN LODGING PARTNERS
                                                     LLC and WALLINGFORD LODGING
                                                     PARTNERS LLC


                                                     By:     /s/ William J. McKenna
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